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        Exhibit "A"
                        a
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                                                                        STATE OF MICHIGAN

                                              IN THE CIRCUIT COURT FOR THE COUNTY OF OAKLAND

                             KARLA GERRARD,
                                                                                               2022-193533-NO
                                             Plaintiff,
                             VS.                                                            Case No.       NO
  4/8/2022 12:32 PM




                                                                                            Hon' JUDGE JEFFERY S. MATIS

                             WALMART,INC., a Foreign Profit Corporation

                             WAL-MART STORES EAST,LP,a Foreign
                             Limited Partnership

                            WAL-MART ASSOCIATES,INC.,a Foreign
                            Profit Corporation
  _se


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  C.)                        LAW OFFICE OF KELMAN & FANTICH
                             BRIAN L. FANTICH P60935
   cu                        CARRA J. STOLLER P64540
                             ADAM J. GANTZ P58558
  o                          Attorney for Plaintiff
                             30903 Northwestern #270
  Received for Filing




                             Farmington Hills, MI 48334
                            (248)855-0100
                             FAX(248)855-3557


                                   There is no other civil action between these parties arising out ofthe same transaction or occurrence as
                                   alleged in this complaint pending in this court, nor has any such action been previously filed and
                                   dismissed or transferred after having been assigned to a judge, nor do I know of any other civil action,
                                   not between these parties, arising out of the same transaction or occurrence as alleged in this complaint
                                   that is either pending or was previously filed and dismissed, transferred, or otherwise disposed of after
  0                                having been assigned to ajudge in this court.

  -J
                                                                             COMPLAINT

                                   NOW COMES the above-named Plaintiff, by and through her attorneys, THE LAW

                            OFFICE KELMAN & FANTICH,and files this Complaint against the Defendant and states as

                            follows:
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         1. That Plaintiff is a resident ofthe City of Walled Lake, County of Oakland, State of

 Michigan.

        2. That at all times hereinafter mentioned, prior and subsequent thereto, Defendant,

 WALMART,INC.,a Foreign Profit Corporation doing business at 26090 Ingersol Drive,in the

 City of Novi, County of Oakland, State of Michigan With its resident agent, The Corporation

 Company,40600 Ann Arbor Rd., Ste. 201,Plymouth, MI 48170.

        3. That at all times hereinafter mentioned, prior and subsequent thereto, Defendant,

 WAL-MART STORES EAST,LP,a Foreign Limited Partnership doing business at 26090

 Ingersol Drive,in the City of Novi, County of Oakland, State of Michigan with its resident agent,

 The Corporation Company,40600 Ann Arbor Rd., Ste. 201, Plymouth, MI 48170.

        4. That at all times hereinafter mentioned, prior and subsequent thereto, Defendant,

 WAL-MART ASSOCIATES,INC., a Foreign Profit Corporation doing business at 26090

 Ingersol Drive, in the City of Novi, County of Oakland, State of Michigan with its resident agent,

 The Corporation Company,40600 Ann Arbor Rd., Ste. 201,Plymouth, MI 48170.

        5.      That the amount in controversy herein exceeds the sum of Twenty Five Thousand

($25,000.00) Dollars exclusive ofcosts, interest and attorney fees.

        6.     That on or about May ZS,2019,the Defendants, did business and was the owners

 and/or maintainers of real property located at 26090 Ingersol Drive, in the City of Novi, County

 ofOakland, State of Michigan.

        7.     That on or about May 26, 2019, Defendants had exclusive possession and control

 over the area where the incident occurred.

        8.     That on or about May 26, 2019,Plaintiff was a business invitee at Defendant's

 establishment locateel at 26090 Ingersol Drive,in the City of Novi, County of Oakland, State of
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 Michigan; that on that date, Plaintiff was walking on Defendant's premises when,suddenly and

without warning, she slipped and fell on a slippery, transparent liquid substance that had been

allowed to accumulate on the floor for an unreasonable length oftime, which blended with the

color and contour ofthe floor and which caused Plaintiffto sustain serious and disabling injuries,

as more fully hereinafter set forth.

       9.      That at all times relevant to the within, the Defendants owed a duty to the Plaintiff

to properly maintain the premises and were in a position to best control and prevent the condition

exposing the Plaintiff to the unreasonable risk of harm, and knew ofthe defective and unsafe

condition on the floor.

       10.     That the Defendant owed a duty-to the Plaintiffto inspect the area to ensure that

the premises would pose no risk of unreasonable harm to those lawfully on the premises.

       11.     That notwithstanding said knowledge and in total disregard of said duties, the

Defendants breached the same by the following omissions, including but not limited to:

       a.      Allowing the transparent, wet, slippery condition to remain on the floor for an
               unreasonable period oftime;

       b.      Failing to mop,clean and/or inspect the area, thereby negligently and carelessly
               increasing said hazardous condition;

       c.     Negligently and carelessly failing to keep the area in a condition fit for its
              intended and foreseeable use and allowing said camouflaged hazard to remain in
              the area where customers were known to traverse;

       d.     Failing to warn business invitees and others ofthe dangerous and hazardous
              condition on their premises.

       12.    That Defendants are liable for the negligent actions/inactions of its employees,

representatives pursuant to the doctrine ofrespondeat superior.

       13. That Defendant's under a separate and distinct duty owed to Plaintiff, are
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      responsible for the active negligence of its employees and are liable to Plaintifffor the injuries

      sustained to her.

              14.     That Defendants under a separate and distinct duty owed to Plaintiffs Defendants

      negligently performed their respective obligations-duties to the detriment ofPlaintiff under the

      contract causing severe and disabling injuries giving rise to tort liability.

              15.    That Defendants under a separate and distinct duty owed to Plaintiff Defendants

      through their respective active negligence created a new hazard altering the premises which

      posed an unreasonable risk of harm to the detriment ofPlaintiff causing severe and disabling

      injuries.

      —       16. That as a direct and proximate result ofthe negligence and carelessness of
                                                                                \     •
      Defendants, and all ofthem,the Plaintiff sustained damages including, but not necessarily

      limited to:

             a.      Severe injury to right ankle resulting in multiple surgeries; altered gait, permanent
                     limp, inability to ambulate, permanent scarring; severe injuries to left shoulder;
                     diminished extension,flexion, and range of motion; injuries to hand; injuries to
                     her head, neck, back, and spine; severe injuries to her upper and lower
                     extremities; decrease in gross and fine motor skills; severe shock, as well as
                     physical pain and suffering;

             b.      The requirement ofintense therapy for injuries which are permanent in nature;

             c.      Severe humiliation and embarrassment, which is of an ongoing and permanent
                     nature;

             d.      Loss offull ability to perform the normal vocational and avocational activities of
                     life, and which prevent Plaintifffrom participating in recreational activities, which
                     loss is permanent;

             e.      Past, present and future hospital, medical, and pharmaceutical bills for treatment
                     and medication;

             f.      Severe,frequent and persistent pain which is of a continuing and permanent
                     nature.
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        17.     That Defendants enjoyed joint possession and control over the are/premises

where Plaintiff was injured.

        18.    That Defendants under a separate and distinct duty owed to Plaintiff Defendant's

negligently directed/escorted Plaintiffto a defective area on the premises causing Plaintiffto

sustain serious and disabling injuries.

        19. That Defendants under a separate and distinct duty failed to direct/escort Plaintiffto a

safe hazard free area, thereby causing Plaintiff to sustain serious and disabling injuries.

       20. The Defendants through a separate and distinct theory of liability are liable to

Plaintiff under the doctrine ofres ipsa loquitur which the defendants breached violated.

       21. That in the event that Plaintiff was suffering from any other medical and/or emotional

condition, then in that event, Plaintiff claims that those conditions were precipitated, aggravated

and/or accelerated by reason ofthe foregoing incident herein described.

       WHEREFORE,Plaintiff prays for Judgment against the Defendant in whatever amount

above Twenty Five Thousand Dollars($25,000.00)that Plaintiff may be found to be entitled plus

costs, interest and attorney fees so Wrongfully sustained.

                                      .15.,
                                          7. OFFICE OF KELMAN 8c FANTICH


Dated: April 7, 2022
                                              BRIAN L. FANTICH P-60935
                                              Attorney for Plaintiff
                                              30903 Northwestern Hwy., Ste. 270
                                              Farmington Hills, MI 48334
                                             (248)855-0100
